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STATE OF COLORADO, ss:

!, Christopher T. Ryan Clerk of the Supreme Court of the State of
Colorado, do hereby certify that

Patrick Harry Peluso

has been duly licensed and admitted to practice as an

< ATTORNEY AND (OUNSELOR at LAW

within this State; and that his/her name appears upon the Roll of Attorneys

 

 

and Counselors at Law in my office of date the 3"
day of November A.D.___2014 and that at the date hereof
the said Patrick Harry Peluso

 

is in good standing at this Bar.

IN WITNESS WHEREOF, I have hereunto subscribed my name and
affixed the Seal of said Supreme Court, at Denver, in said State, this

25" yy May ap 2017

Christopher T. Ryan

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By WA ton A

Deputy Clerk

   

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